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ATTORNEYS FOR THE STATE OF TEXAS

                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

In re:                                                   §             Chapter 11
                                                         §
Studio Movie Grill Holdings, LLC, et al., 1              §             Case No. 20- 32633-11
                                                         §
         Debtors.                                        §             Joint Administration Requested

                           NOTICE OF APPEARANCE AND REQUEST
                                 FOR SERVICE OF PAPERS



1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Studio Movie Grill Holdings, LLC (6546) (“SMG Holdings”); OHAM Holdings, LLC (0966);
Movie Grill Concepts Trademark Holdings, LLC (3096); Movie Grill Concepts I, Ltd. (6645); Movie Grill Concepts
III, Ltd. (2793); Movie Grill Concepts IV, Ltd. (1454); Movie Grill Concepts IX, LLC (3736); Movie Grill Concepts
VI, Ltd. (6895); Movie Grill Concepts VII, LLC (2291); Movie Grill Concepts X, LLC (6906); Movie Grill Concepts
XI, LLC (2837); Movie Grill Concepts XII, LLC (6040); Movie Grill Concepts XIII, LLC (5299); Movie Grill
Concepts XIV, LLC (4709); Movie Grill Concepts XIX, LLC (9646); Movie Grill Concepts XL, LLC (4454); Movie
Grill Concepts XLI, LLC (4624); Movie Grill Concepts XLII, LLC (2309); Movie Grill Concepts XLIII, LLC (9721);
Movie Grill Concepts XLIV, LLC (8783); Movie Grill Concepts XLV, LLC (2570); Movie Grill Concepts XV, LLC
(4939); Movie Grill Concepts XVI, LLC (1033); Movie Grill Concepts XVII, LLC (1733); Movie Grill Concepts
XVIII, LLC (8322); Movie Grill Concepts XX, LLC (7300); Movie Grill Concepts XXI, LLC (1508); Movie Grill
Concepts XXII, LLC (6748); Movie Grill Concepts XXIV, LLC (5114); Movie Grill Concepts XXIX, LLC (5857);
Movie Grill Concepts XXV, LLC (4985); Movie Grill Concepts XXVI, LLC (5233); Movie Grill Concepts XXVII,
LLC (4427); Movie Grill Concepts XXVIII, LLC (1554); Movie Grill Concepts XXX, LLC (1431); Movie Grill
Concepts XXXI, LLC (3223); Movie Grill Concepts XXXII, LLC (0196); Movie Grill Concepts XXXIII, LLC (1505);
Movie Grill Concepts XXXIV, LLC (9770); Movie Grill Concepts XXXIX, LLC (3605); Movie Grill Concepts
XXXV, LLC (0571); Movie Grill Concepts XXXVI, LLC (6927); Movie Grill Concepts XXXVII, LLC (6401); Movie
Grill Concepts XXXVIII, LLC (9657); Movie Grill Concepts XXIII, LLC (7893); Studio Club, LLC (3023); Studio
Club IV, LLC (9440); Movie Grill Concepts XI, LLC (2837); Movie Grill Concepts XLI, LLC (4624); Movie Grill
Concepts XLVI, LLC (2344); Movie Grill Concepts XLVII, LLC (5866); Movie Grill Concepts XLVIII, LLC (8601);
Movie Grill Concepts XLIX, LLC (0537); Movie Grill Concepts L, LLC (5940); Movie Grill Concepts LI, LLC
(7754); Movie Grill Concepts LII, LLC (8624); Movie Grill Concepts LIII, LLC (3066); Movie Grill Concepts LIV,
LLC (2018); Movie Grill Concepts LV, LLC (4699); Movie Grill Partners 3, LLC (4200); Movie Grill Partners 4,
LLC (1363); Movie Grill Partners 6, LLC (3334); and MGC Management I, LLC (3224).
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       PLEASE TAKE NOTICE that the attorneys set forth below hereby appear as counsel for

the State of Texas, by and through the Office of the Attorney General of Texas, pursuant to Rule

9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). The undersigned

request that all notices given or required to be given in the above-captioned case (including, but

not limited to, all papers filed and served in all adversary proceedings in such case, and to creditors

and equity security holders who file with the Court and request that all notices be mailed to them)

be given to and served on the following:

                                          Jason B. Binford
                                          Layla D. Milligan
                                    Assistant Attorneys General
                              Office of the Attorney General of Texas
                                Bankruptcy & Collections Division
                                     P. O. Box 12548- MC 008
                                     Austin, Texas 78711-2548
                                        Phone: 512/463-2173
                                         Fax: 512/936-1409

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules specified above, but also includes, without limitation,

all orders and notices of any application, motion, petition, pleading, request, complaint, or demand,

statement of affairs, operating reports, schedules of assets and liabilities, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, courier service,

hand delivery, telephone, facsimile transmission, or otherwise that (1) affects or seeks to affect in

any way any rights or interest of any creditor or party in interest in this case, with respect to the

(a) debtor, (b) property of the debtor’s estate, or proceeds thereof, in which the debtor may claim

an interest, or (c) property or proceeds thereof in the possession, custody, or control of others that

the debtor may seek to use; or (2) requires or seeks to require any act, delivery of any property,

payment or other conduct by the undersigned.




                                                  2
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Dated: October 26, 2020              Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General

                                     RYAN L. BANGERT
                                     Deputy First Assistant Attorney General

                                     DARREN L. MCCARTY
                                     Deputy Attorney General for Civil Litigation

                                     RACHEL R. OBALDO
                                     Assistant Attorney General
                                     Chief, Bankruptcy & Collections Division

                                     /s/ Jason B. Binford
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                                     ATTORNEYS FOR THE STATE OF TEXAS




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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been served via the Court’s
Electronic Filing System on all parties requesting notice in this proceeding on October 26, 2020.

                                            /s/ Jason B. Binford
                                            JASON B. BINFORD
                                            Assistant Attorney General




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